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                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW HAMPSHIRE


United States of America

     v.                                      Case No. 09-cr-11-03-PB

Joseph Delgado, et al.



                               O R D E R

     Defendant Felicia Earley, through counsel, has moved to

continue the   trial scheduled for March 3, 2009, citing the need

for additional time to complete discovery and prepare for trial

or negotiate a plea agreement.      The government and co-defendants

do not object to a continuance of the trial date.

     Accordingly, for the above reasons and to allow the parties

additional time to properly prepare for trial, the court will

continue the trial from March 3, 2009 to June 2, 2009.            In

agreeing to continue the trial, the court finds pursuant to 18

U.S.C.A. § 3161(h)(8)(A) that for the above-stated reasons, the

ends of justice served in granting a continuance outweigh the

best interests of the public and the defendants in a speedy

trial.
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      The February 25, 2009 final pretrial conference is continued

to May 20, 2009 at 2:15 p.m.

      SO ORDERED.


                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge

February 23, 2009

cc:   Michael Ramsdell, Esq.
      Liam D. Scully, Esq.
      John Pendleton, Esq.
      Ray Raimo, Esq.
      Terry Ollila, AUSA
      United States Probation
      United States Marshal




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